Court of Appeals
of the State of Georgia

                                                                ATLANTA, August 21, 2024

The Court of Appeals hereby passes the following order

A25I0004. SUJAN DASS v. GREGORY PINSON .


     Upon consideration of the Application for Interlocutory Appeal, it is ordered that it be

hereby GRANTED. The Appellant may file a Notice of Appeal within 10 days of the date of

this order. The Clerk of State Court is directed to include a copy of this order in the record

transmitted to the Court of Appeals.


LC NUMBERS:

2021CV02079




                                       Court of Appeals of the State of Georgia
                                             Clerk's Office, Atlanta, August 21, 2024.

                                             I certify that the above is a true extract from the minutes
                                       of the Court of Appeals of Georgia.

                                             Witness my signature and the seal of said court hereto
                                       affixed the day and year last above written.

                                                                           , Clerk.
